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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK




IN RE TURQUOISE HILL RESOURCES LTD.            Case No. 20-CV-08585-LJL
SECURITIES LITIGATION




     THE TRQ DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
    THEIR MOTION TO DISMISS THE SECOND AMENDED CLASS ACTION
                           COMPLAINT




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               Defendants Turquoise Hill Resources Ltd. (“Turquoise Hill,” “TRQ,” or the

“Company”), Luke Colton, Brendan Lane, and Ulf Quellmann (together, the “Turquoise Hill

Defendants” or “TRQ Defendants”) respectfully submit this memorandum of law in support of

their motion to dismiss Plaintiffs’ Second Amended Consolidated Complaint (the “Complaint”) in

its entirety and with prejudice under Rule 12(b)(6) of the Federal Rules of Civil Procedure and the

Private Securities Litigation Reform Act of 1995 (the “PSLRA”).

                               PRELIMINARY STATEMENT

               This is a purported securities fraud class action arising from the underground

development of Oyu Tolgoi, a massive copper and gold mine located in a remote region of

Mongolia. Turquoise Hill, which is based in Canada, and an entity owned by the Government of

Mongolia are co-owners of the company that owns the mine. Rio Tinto, one of the largest mining

companies in the world and a majority owner of Turquoise Hill, is the project manager of the mine

and oversees its operations.

               Plaintiffs allege that Rio Tinto and Turquoise Hill misled Turquoise Hill investors

by purportedly delaying disclosure of problems and delays in the underground development of the

mine that eventually led to a substantial increase in the estimated investment costs and a delay in

the estimated date of initial production. The Turquoise Hill Defendants incorporate by reference

the Rio Tinto Defendants’ arguments in support of dismissal of the Complaint to the extent

applicable to the Turquoise Hill Defendants. The claims against the Turquoise Hill Defendants,

however, suffer from several fundamental flaws.

               First, the Complaint does not adequately allege scienter as to the Turquoise Hill

Defendants, who had no involvement at all in the operations of the mine during the Class Period.

The Complaint contains allegations, purportedly based on interviews with former Rio Tinto

employees and consultants, that management officials at Rio Tinto were apprised of problems,
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delays, and cost overruns in the underground development before they were publicly disclosed.

But there is not a single allegation that anyone at Turquoise Hill was told about these issues, or

that any of the Turquoise Hill Defendants were otherwise aware of them at any relevant time prior

to public disclosure. To the contrary, the Complaint alleges that Rio Tinto sought to conceal

information about the problems at the mine from its partners, including the Government of

Mongolia and Turquoise Hill.

               Similarly,    the Complaint contains some twenty-five pages of allegations

purportedly based on a report prepared for a special committee of the Oyu Tolgoi Board of

Directors investigating the delays and cost overruns (the “ICG Report”). But again, none of these

allegations suggest that any of the Turquoise Hill Defendants were aware of facts that contradicted

the disclosures they made.

               Indeed, the Complaint’s detailed introductory section does not even mention the

Turquoise Hill Defendants, and there is strikingly little concerning them in the rest of the

Complaint, either. Instead, the allegations specifically allege that Rio Tinto exercised sweeping

control over the entire project—including that Rio Tinto “dictated the content of all Turquoise

Hill’s public statements concerning OT” (¶ 54) as well as “any communication that could impact

Turquoise Hill’s stock price” (¶ 450)—and steps that Rio Tinto allegedly took to prevent

dissemination of information concerning difficulties it was facing in the underground development

of the mine, (¶ 451), including, by the way, to Turquoise Hill. All of this undercuts, rather than

supports, Plaintiffs’ scienter allegations in regard to the TRQ Defendants.

               The Complaint is also devoid of any plausible allegations that the TRQ Defendants

had any motive to mislead TRQ investors. Plaintiffs do not allege that Turquoise Hill or any of

the TRQ individual defendants received any concrete benefit as a result of the alleged fraud. In




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fact, Mr. Quellmann bought Turquoise Hill stock during the relevant period, which effectively

negates scienter as to him, and Plaintiffs themselves allege that Rio Tinto forced Mr. Quellmann

to resign from his position as CEO of TRQ “after he took actions in support of TRQ’s minority

shareholders that were contrary to Rio’s interests” (¶ 39). The Complaint and the disclosures it

cites also show that Turquoise Hill disclosed delays as soon as Rio Tinto provided that information

to it and cautioned investors that costs were being re-evaluated in light of the delays and other

issues. And two TRQ representatives were on the four-member OT Special Committee that

commissioned the investigative reports relied on by Plaintiffs. All of this—including the fact that

TRQ itself commissioned the report cited by the Plaintiffs while this lawsuit was pending—

weighs against any inference of scienter on the part of the TRQ Defendants.

               Second, the bulk of the Turquoise Hill disclosures that Plaintiffs claim were

misleading—which concerned the projected cost and timeline for the underground development—

are quintessential forward-looking statements protected by the PSLRA safe harbor. As the Second

Circuit and other courts have recognized, mining is an inherently risky business, and miners never

know exactly what they will find deep under the surface until they get there. Turquoise Hill made

meaningful cautionary statements about those risks in all of its public filings, news releases, and

analyst calls. While the PSLRA safe harbor does not immunize forward-looking statements that

are made with actual knowledge of their falsity, the Complaint does not adequately allege such

knowledge on the part of any Turquoise Hill Defendant, as discussed above.

               Third, most of the Turquoise Hill disclosures that Plaintiffs challenge are also

statements of opinion, and the Complaint does not adequately allege either subjective or objective

falsity in regard to those statements.




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               Fourth, a number of the Turquoise Hill disclosures that Plaintiffs challenge—

including statements such as “capital costs remain in line”; the schedule “remains on track”; and

“key risks [are] well understood and managed”—are vague statements of optimism, or puffery,

that courts have repeatedly ruled are not actionable under the securities laws.

               For these and other reasons discussed below, all of the claims asserted against the

Turquoise Hill Defendants in the Complaint should be dismissed in their entirety and with

prejudice.

                                  STATEMENT OF FACTS 1

I.     Defendants

               Turquoise Hill is a mining company headquartered in Canada. (¶ 38.) Its only

material mineral resource property is a 66% equity interest in Oyu Tolgoi LLC (“OT”), the

company that owns the Oyu Tolgoi copper and gold mine in southern Mongolia (“Oyu Tolgoi”).

(¶¶ 38, 52.) The Government of Mongolia owns the other 34% of OT, through an entity called

Erdenes Oyu Tolgoi LLC. (¶ 52.)

               Ulf Quellmann was CEO of Turquoise Hill from August 1, 2018 to March 3, 2021.

(¶ 42.) Luke Colton has been the CFO of Turquoise Hill since October 9, 2017. (¶ 43.) Brendan




1 Solely for purposes of this motion to dismiss, the well-pleaded facts alleged in the Complaint are
assumed to be true. See Koch v. Christie’s Intern. PLC, 699 F.3d 141, 145 (2d Cir. 2012). That
tenet, however, “is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
In deciding a motion to dismiss, the Court may consider “statements or documents incorporated
into the complaint by reference, legally required public disclosure documents filed with the SEC,
and documents possessed by or known to the plaintiff and upon which it relied in bringing the
suit.” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007). That includes
the ICG Report and the Peer Report, which Plaintiffs rely upon and which are integral to the
Complaint. Citations to “¶ __” refer to paragraph numbers in the Complaint and citations to “Ex.
__” are exhibits to the Declaration of Gregory F. Laufer dated October 19, 2021.


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Lane was its Vice President of Operations & Development from February 1, 2016 through mid-

2019. (¶ 44.)

                Defendant Rio Tinto, which consists of Rio Tinto plc (a United Kingdom company)

and Rio Tinto Limited (an Australian company), is one of the world’s largest metals and mining

companies. (¶ 46.) Although Turquoise Hill’s shares are publicly traded, Rio Tinto, through

subsidiaries, owns 50.8% of the shares. (¶¶ 39, 56.)

                Jean-Sebastien Jacques was the CEO of Rio Tinto from July 2016 to

December 2020.     (¶ 49.)   Arnaud Soirat was the chief executive of Rio Tinto’s Copper &

Diamonds product group from 2016 to December 2020, and has been Rio Tinto’s COO since

February 2021. (¶ 50.)

II.    Oyu Tolgoi

                Oyu Tolgoi is located in a remote part of the South Gobi Desert about 340 miles

south of Ulaanbaatar, Mongolia’s capital city. (¶ 38.) It is one of the largest known copper and

gold deposits in the world. When fully developed, it is expected to be the world’s fourth largest

copper mine, with an “average annual production of 560 thousand tonnes between 2025 and

2030.” 2 (¶323.)

                The original mining operations at Oyu Tolgoi, which began in 2013, were surface

operations known as “open pit” mining. (¶ 5.) Up to 80% of the value of the mine, however, lies

in ore deposits that are deep underground and accessible only through a highly complex

underground mining project. (Id.) After initial attempts to start the underground development

stalled, Rio Tinto, Turquoise Hill, and the Government of Mongolia entered into an Underground




2 A “tonne” is a metric ton, which is 1,000 kilograms.   Thus, 500,000 tonnes equals about 550,000
U.S. tons.


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Mine Development and Financing Plan in May 2015 (the “Underground Plan”), and restarted the

project in mid-2016. (¶¶ 64-65; Ex. 19 (2019 Management’s Discussion and Analysis (“MD&A”)

attached to TRQ Form 6-K, dated May 15, 2019), at 6.) Turquoise Hill filed the Underground

Plan with the SEC as an exhibit to a Form 6-K filing on May 19, 2015. (Ex. 2 (TRQ Form 6-K

dated May 19, 2015 (attaching the Underground Plan)).)

               Financing was predicated on the completion of a “feasibility study” as required by

the Mongolian government—a comprehensive report that calculated the geological-engineering

solutions, legal, operational, economic, social, environmental, and other factors required to

determine the financial viability of the project. (Ex. 2 (Underground Plan), at 5.) The Feasibility

Study was completed in May 2016. (Ex. 4 (2017 Annual Information Form (“AIF”) attached to

TRQ 2017 Form 40-F), at 15.)        It estimated that the cost to complete development of the

underground project would be $5.3 billion. (¶ 65.) Construction was expected to take place over

five years, with sustainable production estimated to begin in early 2021. (¶ 7.) As the publicly

disclosed Underground Plan stated—and as one would expect when dealing with a project of this

size and scope—the parties (Rio Tinto, the Government of Mongolia, and Turquoise Hill)

expressly acknowledged and agreed that the Feasibility Study contained “estimates only [that] are

not binding, are based on assumptions that are subject to uncertainties and contingencies that may

prove not to be correct, and actual results may vary from the estimates in the Feasibility Study.”

(Ex. 2 (Underground Plan), at 5.)

               The design of the vast underground mine consists of five vertical shafts for access

to the mine, reaching mining levels nearly a mile below the surface, and a network of

203 kilometers (~126 miles) of lateral underground tunnels extending horizontally from the bottom

of the shafts underneath and around the ore deposits.      (¶ 66; Ex. 12 (Jan. 17, 2019 Investor




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Presentation), at 4.) Shaft 2 is the main logistics hub for transporting personnel and equipment

from the surface to the underground mine infrastructure and conveying ore and other materials to

the surface, as well as providing ventilation. (¶¶ 8, 72.) The other four shafts are for ventilation

only. (See id.)

                  The mine plan called for the largest ore body, the Hugo North Lift 1, to be divided

into three panels, with the middle panel—Panel 0—to be mined first, followed by Panels 1 and 2,

which flank Panel 0. (¶ 69; Ex. 12 (Jan. 17, 2019 Investor Presentation), at 4.) The ore was to be

mined by a process called “panel block caving,” in which the supporting rock below the ore body

is undercut, causing the ore to loosen and fall by gravity into massive, Y-shaped “draw bells” that

channel the loosened ore into an underground tunnel for extraction. (¶¶ 68-70; Ex. 12 (Jan. 17,

2019 Investor Presentation), at 4.)

                  The Government of Mongolia gave OT formal permission to restart second-phase

underground construction around mid-2016 (¶ 65; Ex. 4 (2017 AIF attached to TRQ 2017 Form

40-F), at 15), and the work then proceeded. To accommodate the mine’s scale and complexity, it

is heavily staffed—requiring a workforce of approximately 17,000 in total (employees and

contractors) at the end of 2018. (Ex. 15 (2018 MD&A attached to TRQ 2018 Form 40-F), at 6.)

III.    The Roles of Turquoise Hill and Rio Tinto

                  Although Turquoise Hill owns 66% of OT, which owns the Oyu Tolgoi mine, it

does not operate the mine or manage its development. Turquoise Hill is headquartered in Canada,

it had no physical presence or office in Mongolia during the Class Period, and it has no employees

in Mongolia assigned to work on operations at Oyu Tolgoi. (¶ 38; Ex. 26 (Apr. 2, 2020 Pentwater

Letter to Shareholders), at vii.)

                  The company that operates the mine and manages its development and construction

is a wholly-owned subsidiary of the Rio Tinto Group that has managed the Oyu Tolgoi project


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since 2010. (¶ 47; Ex. 3 (May 6, 2016 Rio Tinto News Release), at 2.) Thus, Rio Tinto, not

Turquoise Hill, has “near total-control over the operations of Oyu Tolgoi.” (¶ 55.) 3

               Rio Tinto International’s parent company, Rio Tinto, is a highly sophisticated

metals and mining company with nearly 150 years of industry experience. (Ex. 5 (2017 Rio Tinto

Annual Report), at 2.)     It is one of the largest mining companies in the world, with over

47,000 employees globally and production presence in almost every continent and nearly

35 countries. (Ex. 5 (2017 Rio Tinto Annual Report), at 6.) As a result, Rio Tinto maintains a

vast portfolio of businesses in the mineral extraction and refining industries producing a variety of

metals and minerals, including cooper, iron ore, bauxite, aluminum, diamonds, gold, and many

more. (Ex. 5 (2017 Rio Tinto Annual Report), 2–3.)

               The Complaint itself repeatedly alleges that, in addition to serving as the project

manager, Rio Tinto has “exercised near-total control over the Oyu Tolgoi project through its

contractual authority as manager of the project under the agreements between the Mongolian

Government, Rio Tinto, and TRQ, as well as through Rio’s control over TRQ.” (¶ 40; Ex. 15

(2018 AIF attached to TRQ 2018 Form 40-F), at 17–18, 36.) The Complaint that, at all relevant

times, Rio Tinto controlled the flow of information regarding the mine that TRQ received (and

continues to receive), and directly controlled both the timing and content of the disclosures that

TRQ made respecting the mine. In this regard, Plaintiffs allege that Rio Tinto:




3 See also ¶¶ 39, 40, 47, 48, 52, 53); Ex. 4 (2017 AIF attached to TRQ 2017 Form 40-F), at 34–35

(“RTIH, as the holder of a majority of the Common Shares, and as manager of Oyu Tolgoi, has
the ability to exert a significant degree of control over the Corporation, Oyu Tolgoi LLC and Oyu
Tolgoi.”); Ex. 15 (2018 AIF attached to TRQ 2018 Form 40-F), at 36 (same); ¶ 3 (stating that the
Oyu Tolgoi mine is “operated almost exclusively by Turquoise Hill’s controlling shareholder,
mining giant Rio Tinto”).


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               •   “dictated the content of all Turquoise Hill’s public statements concerning OT”
                   (¶ 54) as well as “any communication that could impact Turquoise Hill’s stock
                   price” (¶ 450);

               •   maintains “near-total control” over TRQ’s “public statements about” OT (¶ 52);

               •   “has exercised near-total control” over “the election of all members of TRQ’s
                   Board of Directors and the selection and appointment of TRQ’s executive
                   officers” (¶ 39);

               •   can “block any nomination” to TRQ’s “Board or force a resignation” (¶ 39);

               •   requires TRQ to provide it “the opportunity to review and comment on drafts
                   of [certain categories of] public filings” (¶ 53);

               •   controls, with RTIH, “decisions concerning OT’s business through its Board of
                   Directors” and the “Board’s Operating Committee” (¶ 54);

               •   has “the ability to determine the outcome of all Operating Committee decisions,
                   and thus the agenda of the OT Board” (¶ 54);

               •   has approval rights over TRQ’s ability “to hire employees” (¶ 203); and

               •   controls information flow to “TRQ independent directors and management”
                   who “are solely reliant on Rio Tinto for information” (¶ 203 (quotations
                   omitted)).

               These allegations and others like them make Rio Tinto’s control over information

flows—both internal to the project and in terms of disclosure to investors—a central theme of the

Complaint, and are totally inconsistent with allegations concerning the TRQ Defendants’ scienter.

IV.    Turquoise Hill’s Public Disclosures

               Throughout the relevant time period, Turquoise Hill, expressly relying on

information received from Rio Tinto, consistently updated investors on developments at Oyu

Tolgoi in quarterly reports, analyst calls, and investor presentations. Given Rio Tinto’s role as the

on-site project manager and TRQ’s lack of presence at the site, TRQ’s disclosures largely consisted

of summaries of reports that it had received from Rio Tinto, and which were transparently

attributed to Rio Tinto. These updates included information about the progress of the underground




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development, the projected schedule for sustainable production, the expected overall capital costs,

and, when delays were reported, the reasons for the delays—all as reported to TRQ by Rio Tinto.

For example, TRQ disclosed:

               •   “During Q4’17, Rio Tinto undertook a schedule and cost review. Rio Tinto
                   has provided Turquoise Hill with a high-level overview of the review’s
                   outcomes, in which Rio Tinto concluded there were no material changes in
                   project scope, cost or schedule.” (¶ 313 (July 31, 2018 News Release, at 3));

               •   “Rio Tinto has undertaken a second annual re-forecast of underground
                   development schedule and costs and preliminary results have concluded that
                   capital costs remain in line with the overall $5.3 billion budget and the project
                   remains on schedule to complete in 2022.” (¶ 335 (Oct. 15, 2018 News
                   Release, at 1));

               •   “Rio Tinto has notified Turquoise Hill, based on preliminary results, of a delay
                   to achievement of sustainable first production which is now expected to occur
                   by the end of Q3’21 instead of Q1’21.” (¶ 336 (Oct. 15, 2018 News Release,
                   at 1));

               •   “We did announce on October 15 that Rio Tinto now projects a 9-month delay
                   of the start of sustainable production from the underground development.”
                   (¶ 348 (Nov. 2, 2018 Investor Call, at 3));

               •   “Rio Tinto, as project manager, has advised that as the lateral development
                   continues, there is more detailed geotechnical data than what was previously
                   available and, as a consequence, the understanding of the rock mass around and
                   under the ore body has improved. This data reveals there are areas of the mine
                   footprint where the strength of the rock mass is more variable than anticipated.
                   This will require some potentially significant changes to the design of some
                   future elements of the development, and the development schedule.” (Ex. 13
                   (Feb. 26, 2019 News Release), at 2);

               •   “Since completion of the Company’s independent review, Rio Tinto, as
                   manager of the project, has advised Turquoise Hill that further delays on the
                   Shaft 2 fit out are expected to contribute to an overall schedule delay to
                   sustainable first production beyond the end of Q3’21.” (Ex. 16 (Mar. 14, 2019
                   News Release), at 4);

               •   “As announced on February 27, 4 we were recently advised by Rio Tinto as our
                   project manager that as the lateral development continues, there is more data


4 The reference to “February 27” in the March 15, 2019 TRQ investor call likely
                                                                              refers to the Rio
Tinto news release dated February 27, 2019. TRQ’s news release is dated February 26.


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                  than was previously available. And as a consequence, the understanding of the
                  ore body has improved. As such, the location of some of the underground
                  infrastructure may need to change.” (¶ 389 (Mar. 15, 2019 Investor Call, at 4));

              •   “Rio Tinto, as project manager, has advised that it has completed a review of
                  the fit-out and commissioning issues at Shaft 2 and it now expects Shaft 2 to be
                  completed by the end of October 2019.” (Ex. 18 (Apr. 15, 2019 News Release),
                  at 1);

              •   “As announced in April 2019, Rio Tinto, in its role as manager of Oyu Tolgoi,
                  has advised that the fit-out and commissioning work on Shaft 2 is now expected
                  to be completed by the end of October 2019. Rio Tinto has advised that this
                  further delay to the completion of Shaft 2 is expected to contribute to the
                  previously announced overall schedule delay to sustainable first production
                  beyond the end of Q3’21.” (Ex. 20 (May 15, 2019 News Release), at 3); and

              •   “Improved rock mass information and geotechnical data modelling has
                  confirmed that there are stability risks associated with components of the
                  existing mine design. Therefore, to address these risks, Rio Tinto, in its role as
                  manager of Oyu Tolgoi, has advised that it continues to review mine design
                  options for the completion of the underground development of Oyu Tolgoi.”
                  (Ex. 25 (July 31, 2019 News Release), at 2.)

              In fact, Plaintiffs themselves emphasize that TRQ entered into a written agreement

with Rio Tinto requiring that all of TRQ’s public disclosures regarding Oyu Tolgoi be “consistent

with the information provided by the Rio Tinto Manager,” and that TRQ not file or issue “any OT

Disclosure without providing the Rio Tinto Manager with a reasonable opportunity to review and

comment thereon.” (¶ 53.)

V.     Turquoise Hill’s Risk Factor Disclosures

              The risks inherent in mining are widely known, but Turquoise Hill’s public

disclosures nevertheless consistently included copious risk disclosures concerning the project.

Among other things, TRQ cautioned investors that:

              •   “The actual cost of developing Oyu Tolgoi may differ materially from the
                  Corporation’s estimates, and development may involve unexpected problems
                  or delays”;

              •   “If these estimates prove incorrect, the total capital expenditures required to
                  complete development of the underground components of Oyu Tolgoi may


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                   increase, which may have a material adverse impact on the Corporation, its
                   results of operations, financial condition and share price”;

               •   “[T]here are also a number of uncertainties inherent in the development and
                   construction of any new or existing mine, including Oyu Tolgoi. These
                   uncertainties include the timing and cost, which can be considerable, of the
                   construction of mining and processing facilities. . .”;

               •   “The cost, timing and complexities of mine construction and development are
                   increased by the remote location of a property such as Oyu Tolgoi”;

               •   “It is common in mining operations and in the development, construction or
                   expansion of existing facilities to experience unexpected problems and delays
                   during such activities, which may cause delays in the commencement or
                   expansion of mineral production or sustainable production. Such delays could
                   have unforeseen impacts on disclosed project economics”; and

               •   “[T]here is no assurance that the current or future development, construction or
                   expansion activities will be successfully completed within cost estimates, on
                   schedule or at all and, if completed, there is no assurance that such activities
                   will result in profitable mining operations.”

(¶¶ 415-416; Ex. 4 (2017 AIF attached to TRQ 2017 Form 40-F), at 35-36; Ex. 15 (2018 AIF

attached to TRQ 2018 Form 40-F), at 33.)

               Turquoise    Hill’s   disclosures    also   contained   extensive   “forward-looking

statements” disclosures. These disclosures cautioned investors that statements using words such

as “expect,” “may,” “plan,” “estimate,” and similar expressions suggesting future outcomes were

forward-looking statements within the meaning of the PSLRA safe-harbor provisions, and that

there were a variety of reasons why actual results might differ, including “mining operational and

development risks,” “the speculative nature of mineral exploration,” and “capital and operating

costs, including with respect to the development of additional deposits”; and cautioned that certain

factors were “inherently uncertain,” including “the timing and cost of the construction and

expansion of mining and processing facilities,” and “delays, and the costs which would result

from delays, in the development of the underground mine (which could significantly exceed




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the costs projected in the Statutory Feasibility Study and the 2016 OTTR).” (Ex. 4 (TRQ

2017 Form 40-F), at 4 (emphasis added); Ex. 15 (TRQ 2018 Form 40-F), at 2 (emphasis added).)

               TRQ’s news releases also contained similar cautionary statements regarding

forward-looking statements, and referred investors to the fuller list of risk factors set forth in its

Annual Information Form. (E.g., Ex. 6 (July 31, 2018 News Release), at 17-18.)                  From

February 2019 forward, TRQ’s disclosures also warned that mining operational and technical risks

included “geotechnical risks and ground conditions.” (Ex. 13 (Feb. 26, 2019 News Release), at 3.)

               These risks captured the precise challenges that led to delays and increased costs at

the mine in the relevant period, including difficulties in the completion of Shaft 2 and the discovery

of geotechnical conditions—that is, the physical condition and stability of the subsurface rock—

that required fundamental changes to the mine plan. TRQ promptly disclosed these conditions to

the market as it became aware of them. (E.g., Ex. 8 (Oct. 15, 2018 News Release), at 1; Ex. 13

(Feb. 26, 2019 News Release), at 2; Ex. 18 (Apr. 15, 2019 News Release), at 2.)

VI.    Delays and Cost Increases Resulting from Complications with Shaft 2 and Instability
       in the Rock Mass Around and Under the Ore Body

               Under the original Underground Plan, Rio Tinto and TRQ expected production

from the first draw bell in mid-2020 and first sustainable production from the underground

development in early 2021, with the total expansion capital for the project expected to be $5.3

billion. (Ex. 5 (Rio Tinto 2017 Annual Report), at 43, 47.) Rio Tinto first began reporting delays

in the overall development and production schedule in October 2018, resulting from a delay in the

completion of Shaft 2 and the discovery of “ground conditions” and “shaft sinking challenges,”

among other things. (¶ 334.) Rio Tinto forecasted that the net effect of the delays would be to

delay sustainable first production by up to nine months, to late Q3’21. (¶ 336.) TRQ reported that




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it was undertaking its own review of the causes and impact of these delays and would “announce

the results as soon as possible.” (¶ 335.)

               Over the ensuing months, TRQ continued to update investors on the results of its

review and on the results of additional updates from Rio Tinto, and repeatedly cautioned it would

take time for the analyses to be completed and for the full impact on scheduling and costs to be

understood. (¶¶ 334-337, 345-47, 350-52, 356-57, 366, 369-70, 381-84, 387, 389-91, 395, 398-

401, 403-04, 409, 429-430, 432.) In a February 26, 2019 news release (¶¶ 369-70), TRQ reported

that its review, which had been conducted with the assistance of mining consultants OreWin Pty

Ltd (“OreWin”), TRQ’s independent Qualified Person (“QP”) under Canadian law,5 had found

that the project cost was expected to remain within the $5.3 billion budget, but that there was “an

increasingly likely risk of a further delay to sustainable first production beyond Q3’21,” due to

certain delays in the completion of Shaft 2 and the need for increased ground support in some key

areas. (¶ 369; Ex. 13 (Feb. 26, 2019 News Release), at 1-2.) It also reported that Rio Tinto, as

project manager, had advised that as lateral development continued, there was more detailed

geotechnical data that potentially revealed the need for significant changes to the design and

development schedule, among other things. (Id.) In March 2019, TRQ again disclosed that Rio

Tinto had advised it that further delays in completing Shaft 2 were expected to contribute to an

overall schedule delay to sustainable first production beyond the end of Q3’21, and that Rio Tinto



5   See Ex. 16 (Mar. 14, 2019 News Release), at 3. Under Canadian mining regulations, a
“Qualified Person” is an individual who (a) is an engineer or geoscientist with a university degree,
or equivalent accreditation, in an area of geoscience, or engineering, relating to mineral exploration
or mining; (b) has at least five years of experience in mineral exploration, mine development or
operation, or mineral project assessment, or any combination of these, that is relevant to his or her
professional degree or area of practice; and (c) has experience relevant to the subject matter of the
mineral project and the technical report. See Ex. 1 (National Instrument 43-101 Standards of
Disclosure for Mineral Projects), at (2011) 34 OSCB 7046.


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was studying certain modifications to its mining plan, including “relocating the ore passes on the

footprint.” (¶ 381; Ex. 16 (Mar. 14, 2019 News Release), at 2.) TRQ said that the impact of those

changes “will be reflected in the definitive estimate review, which is expected to be complete

towards the end of the year” (id. at 1), and that TRQ would be assessing the impact of any further

delay to sustainable first production “on the Company’s cash flows, liquidity, and funding

requirements.” (¶ 387; Ex. 15 (2018 MD&A attached to TRQ 2018 Form 40-F), at 13.)

                On March 15, 2019, Mr. Quellmann told analysts that, after TRQ had completed its

own review, Rio Tinto had advised it that more detailed data was now available, and that, as a

consequence, “Rio Tinto is studying the impact of some potentially significant changes to some

future elements of the underground design including relocating the ore passes.” (¶ 387.) Mr.

Quellmann further disclosed: “[T]he whole value proposition of this mine is predicated upon

stability of the tunnels and excavation . . . . And so we now need to go, together with Rio, go

through the process of understanding the stability, understanding where fault lines are running,

identifying different locations, modeling it and then include that in the definitive estimate.”

(Ex. 17 (Mar. 15, 2019 Investor Call), at 7.) He added that “the ultimate cost and schedule will

only be known by year-end with the completion of the definitive estimate,” but that the company

expected to be able to provide updates prior to that. (¶¶ 389-91; Ex. 17 (Mar. 15, 2019 Investor

Call), at 7.)

                In the Company’s next earnings call on May 16, 2019, Mr. Quellmann reported that

“work continues on the definitive estimate work,” and that “[t]his may include some potentially

significant changes to the design of some future elements of the mine design and the development

schedule.” (¶¶ 400-01; Ex. 21 (May 16, 2019 Investor Call), at 3.) Mr. Colton added that, by the

end of the year, “key milestones related to the underground development project will be




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significantly more advanced than today,” including completion of the “definitive estimate review,”

which would include “final estimates for completion, schedule, costs, both CapEx and Opex,

grades and the production schedule.” (Id. at 4.)

               On July 15, 2019, TRQ disclosed that improved information about the underlying

rock mass and geotechnical modeling had confirmed that there were stability risks associated with

the existing mine design, and that, as a result, a number of mine design options were identified to

address those risks. 6 Based on these options, TRQ reported, sustainable first production was now

expected to be delayed to between May 2022 and June 2023, and the development capital spend

for the project was expected to increase by $1.2 to $1.9 billion. (¶ 242; see also Ex. 24 (July 16,

2019 Rio Tinto News Release), at 2.)

               On July 31, 2019, TRQ reported that it was taking a $600 million impairment

charge due to the delays and increased cost estimate. (¶ 246.) A special committee of the Oyu

Tolgoi Board of Directors, which consisted of two TRQ representatives and two representatives

of the Mongolian Government, commissioned a group of mining experts referred to as the

Independent Consulting Group (“ICG”) to investigate the delays and cost overruns. (¶¶ 2, 26.)

ICG’s report (the “ICG Report”) (Ex. 29) and a peer review of that report (the “Peer Review”)

(Ex. 30) were issued in July 2021. (¶¶ 2, 26.) While the ICG Report concluded that geotechnical

issues were not the principal cause of the delays (¶¶ 26, 254), it does not show—and Plaintiffs do

not allege that it shows—that anyone at TRQ was aware of facts that conflicted with TRQ’s

disclosures during the relevant time period.




6   The Complaint sometimes incorrectly refers to this news release as dated July 16, 2019 (¶ 403);
in fact, it was dated July 15, 2019. See Ex. 22.


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VII.    Plaintiffs’ Claims

               The original plaintiff commenced this action on October 14, 2020. (ECF No. 1.)

The Pentwater Funds were appointed as Lead Plaintiff on January 15, 2021, and filed a

consolidated complaint on March 16, 2021. (ECF Nos. 103, 109). After initially responding to

Defendants’ motions to dismiss that complaint, Plaintiffs requested and were granted leave to file

an amended complaint to add allegations based on the ICG Report and Peer Review. (ECF No.

126.) They then filed the current Complaint on September 16, 2021. (ECF No. 127.) The

Complaint asserts claims under Section 10(b) of the Exchange Act and Rule 10b-5 against all

defendants, and control person claims against Mr. Quellmann, Mr. Lane, Mr. Colton, and the Rio

Tinto Defendants under Section 20(a) of the Exchange Act.

               The Complaint alleges—purportedly based on interviews of, and documents

provided   by, former Rio Tinto employees and consultants,              including   two purported

“whistleblowers”—that the delays and cost overruns in the underground mining operations

occurred earlier than when Rio Tinto and TRQ disclosed them. (¶¶ 248-343.) It also alleges that

the delays and cost overruns were caused by mismanagement and mistakes, not unforeseen ground

conditions and geotechnical issues that a number of disclosures referred to, and that top executives

at Rio Tinto had been advised of these facts but failed to disclose them. (Id.)

               But, despite Plaintiffs’ effort to lump Rio Tinto and TRQ together by repeatedly

alleging that “Defendants” knew of these issues (¶¶ 20, 25-26, 153, 226, 271, 281, 285), there is

not a single allegation that Rio Tinto employees or consultants ever advised anyone at TRQ about

the delays and cost overruns prior to when they were disclosed by TRQ, and there is no allegation

that the ICG Report made any such finding. Nor is there a single allegation that the information

that TRQ reported to investors about the progress of the underground development or the reasons




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for delays did not accurately reflect the information that Rio Tinto, as project manager, was

providing to TRQ.

                                         ARGUMENT

               The gist of the Complaint is that defendants knew that the underground

development of the mine was significantly delayed and over budget, but that they delayed

disclosing that information, including to Turquoise Hill investors. The Complaint also alleges

that, contrary to what defendants disclosed, mismanagement and mistakes, not unforeseen ground

conditions and geotechnical issues, were the principal reasons for the delays and cost overruns.

               The allegations against Turquoise Hill Defendants, however, are deficient.

Specifically, the Complaint: (i) does not adequately allege scienter on the part of the Turquoise

Hill Defendants; (ii) does not allege “actual knowledge” as required to avoid the PSLRA “safe

harbor” for forward-looking statements, which applies to most of the disclosures that Plaintiffs

challenge; (iii) does not allege “subjective falsity,” as required to plead the Turquoise Hill

Defendants’ statements of opinion were false; and (iv) focuses on vague statements of corporate

optimism that are not actionable.

I.     THE COMPLAINT DOES NOT ADEQUATELY ALLEGE SCIENTER IN
       REGARD TO THE TURQUOISE HILL DEFENDANTS

               The PSLRA requires plaintiffs to allege facts giving rise to a “strong inference”

that defendants acted with an intent “to deceive, manipulate, or defraud.” Tellabs, Inc. v. Makor

Issues & Rights, Ltd., 551 U.S. 308, 313-14 (2007) (quoting 15 U.S.C. § 78u–4(b)(2)).         That

inference “must be more than merely plausible or reasonable—it must be cogent and at least as

compelling as any opposing inference of non-fraudulent intent.” Id. at 309. “Particularized facts

supporting an inference of scienter must be pled as to each individual defendant.” Hou Liu v.

Intercept Pharm. Inc., 2020 WL 1489831, at *14 (S.D.N.Y. Mar. 26, 2020). To allege corporate



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scienter, plaintiffs must plead facts that “give rise to a strong inference that someone whose intent

could be imputed to the corporation acted with the requisite scienter.” Jackson v. Abernathy,

960 F.3d 94, 98 (2d Cir. 2020) (quotations omitted).       In order to plead a strong inference of

scienter, Plaintiffs must allege “either (1) that defendants had the motive and opportunity to

commit fraud” or “(2) strong circumstantial evidence of conscious misbehavior or recklessness.”

ECA, Local 134 IBEW Joint Pension Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 198 (2d

Cir. 2009).

               “In order to raise a strong inference of scienter through ‘motive and opportunity’ to

defraud, Plaintiffs must allege that [the company] or its officers ‘benefitted in some concrete and

personal way from the purported fraud.’” ECA, 553 F.3d at 198 (quoting Novak v. Kasaks,

216 F.3d 300, 307-08 (2d Cir. 2000)). Motives that are generally possessed by most corporate

directors and officers do not suffice; instead, plaintiffs must assert a concrete and personal benefit

to the individual defendants resulting from the fraud. Novak, 216 F.3d at 307-08.

               In the absence of allegations of motive and opportunity, “the strength of the

circumstantial allegations must be correspondingly greater.” ECA, 553 F.3d at 199 (quoting

Kalnit v. Eichler, 264 F.3d 131, 142 (2d Cir. 2001)). “At least four circumstances may give rise

to a strong inference of the requisite scienter: where the complaint sufficiently alleges that the

defendants [1] benefitted in a concrete and personal way from the purported fraud; [2] engaged in

deliberately illegal behavior; [3] knew facts or had access to information suggesting that their

public statements were not accurate; or [4] failed to check information they had a duty to

monitor.’” ECA, 553 F.3d at 199. 7 Plaintiffs’ allegations do not meet any of these tests.




7  See also, In re Marsh & McLennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d 452, 484 (S.D.N.Y.
2006) (“Second Circuit cases uniformly rely on allegations that [1] specific contradictory


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       A.      Plaintiffs Do Not Allege That the Turquoise Hill Defendants Had Knowledge
               of Contrary Facts

               “Corporate officials need not be clairvoyant; they are only responsible for revealing

those material facts reasonably available to them. Thus, allegations that defendants should have

anticipated future events and made certain disclosures earlier than they actually did do not suffice

to make out a claim of securities fraud.” Novak, 216 F.3d at 309 (citations omitted). “Where

plaintiffs contend defendants had access to contrary facts, they must specifically identify the

reports or statements containing this information.” Id.

               Here, Plaintiffs do not identify any such reports or statements containing contrary

facts that were provided to anyone at TRQ or that the Turquoise Hill Defendants otherwise had

access to.

               By Plaintiffs’ own allegations, TRQ relied on Rio Tinto, the project manager, for

information and updates concerning the progress of the underground development, and—as TRQ

specifically informed the markets—essentially all of TRQ’s disclosures consisted of information

that the project manager provided. (¶ 53.) With no physical presence or office in Mongolia, and

no employees in Mongolia assigned to work on operations at Oyu Tolgoi, TRQ does not have first-

hand knowledge of, or on-site access to progress at the mine and is wholly reliant on the project

manager in this regard. In its disclosures, TRQ expressly stated that it was relaying the information

it had received from Rio Tinto. 8 There is not a single allegation in the Complaint that Rio Tinto



information was available to the defendants [2] at the same time they made their misleading
statements.”).
8   See ¶ 348 (Nov. 2, 2018 Investor Call, at 3) (“We did announce on October 15 that Rio Tinto
now projects a 9-month delay of the start of sustainable production from the underground
development”); ¶ 389 (Mar. 15, 2019 Investor Call, at 4) (“As announced on February 27, we were
recently advised by Rio Tinto as our project manager that as the lateral development continues,
there is more data than was previously available. And as a consequence, the understanding of the
ore body has improved. As such, the location of some of the underground infrastructure may need


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provided any material information to TRQ—or, in particular, to Mr. Colton, Mr. Lane, or Mr.

Quellmann—about delays, cost overruns, or the reasons for such delays and cost overruns, that

TRQ either failed to disclose in a timely fashion or disclosed inaccurately.

                Moreover, Plaintiffs purport to have interviewed about a dozen former Rio Tinto

employees and consultants, including purported whistleblowers Richard Bowley and Maurice

Duffy, concerning allegedly undisclosed delays and cost overruns. Plaintiffs allege that these

individuals brought information about Oyu Tolgoi to the attention of Rio Tinto executives,9 but

again there is not a single allegation that any one of these employees or consultants (or anyone

else) ever told anyone at TRQ about those issues. See Glaser v. The9, Ltd., 772 F. Supp. 2d 573,

594 (S.D.N.Y. 2011) (where confidential witnesses worked for different company, not defendant-

company, and plaintiffs “make no allegation that those sources ever had any contact with anyone

at” defendant-company or individual defendants, court found that “the law is abundantly clear that

such allegations are insufficient to support scienter”). 10


to change.”); see also Ex. 13 (Feb. 26, 2019 News Release), at 2; ¶ 313 (July 31, 2018 News
Release, at 3.); ¶ 336 (Oct. 15, 2018 News Release, at 1); ¶ 348 (Nov. 2, 2018 Investor Call, at 3);
Ex. 16 (Mar. 14, 2019 News Release), at 2; Ex. 18 (Apr. 15, 2019 News Release), at 2; Ex. 20
(May 15, 2019 News Release), at 3; Ex. 25 (July 31, 2019 News Release), at 2.
9  See, e.g., ¶ 11 (Sept. 2017 meeting with Duffy and Kirikova); ¶ 141 (Feb. 1, 2018 presentation
by Bowley); ¶ 144 (May 2018 Bowley conversation with Rio Defendant about schedule risks);
¶147 (July 3, 2018 email from Bowley about cost overruns); ¶ 151 (July 19, 2018 email from
Bowley concerning costs and expected delays); ¶ 154 (Apr. 2018 communication concerning
schedule from Andrew Duff, Rio Tinto’s Senior Construction Manager at Oyu Tolgoi, to Rio’s
Global Head of Projects).
10  See also Kasilingam v. Tilray, 2021 WL 4429788, at *10, *12 & n.7 (S.D.N.Y. Sept. 27, 2021)
(scienter not adequately alleged where none of the employees claim to have “spoken with or
otherwise notified . . . any individual defendant” of their dissenting view, where former employees
were not “alleged to have reported directly” to defendants, and where the allegations “fail to
establish that [d]efendants were insincere in their [publicly disclosed] belief”); In re Citigroup Inc.
Sec. Litig., 753 F. Supp. 2d 206, 245 (S.D.N.Y. 2010) (“Fatal to plaintiffs’ claims, however, is that
they do not allege with specificity that any of the confidential witnesses relied upon in the
Complaint presented information to the individual defendants.”); In re Aratana Therapeutics Inc.
Sec. Litig., 315 F. Supp. 3d 737, 765 (S.D.N.Y. 2018) (finding Second Amended Complaint could


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               To the contrary, Plaintiffs quote a sworn statement from Bowley in which he

purportedly stated: “Despite [my] reporting [my] concerns about schedule delay and cost overrun

and proposing solutions [to two Rio Tinto employees], Rio Tinto made no disclosure of the true

facts to [its] partners and investors or the market.” (¶ 262 at 4.4 (emphasis added).)

               In addition, despite relying on allegations based on the ICG Report in the current

Complaint, Plaintiffs do not allege that the ICG Report contains any finding that the Turquoise

Hill Defendants knew of undisclosed delays and cost overruns. They do not cite a single fact or

finding from the ICG Report showing that anyone at TRQ either knew undisclosed facts about the

delays and cost overruns before or during the Class Period, or that anyone at TRQ took measures

to conceal the true facts from investors.    In fact, the report never even mentions any TRQ

Defendant or any other TRQ employee by name.

               Furthermore, the Complaint also alleges facts suggesting that TRQ would not and

could not have known such information. Thus, it alleges that senior management at the mine (i.e.,

within Rio Tinto) had a substantial motives to conceal problems at the mine (¶¶ 139-40, 187, 282,

285-88, 297), that this led to “culture of suppressing negative information” (¶ 185), and that

employees were instructed “to discuss our concerns face-to-face, never email or in writing” (¶260).

Plaintiffs cannot consistently allege both this purported culture of concealment at the mine and

that TRQ knew the information that was allegedly concealed.



not “generate a strong inference of scienter” where there were no confidential witness statements
“tending to suggest that defendants knowingly deceived shareholders”); In re Adient plc Sec. Litig.,
2020 WL 1644018, at *28 (S.D.N.Y. Apr. 2, 2020) (alleging that former employees “rais[ed] red
flags” about their concerns with defendants was insufficient to plead scienter because the
allegations did not support that the CWs made statements to individual defendants that provided
them with “actual knowledge.”); In re Pretium Resources Inc. Sec. Litig., 256 F. Supp. 3d 459,
481 (S.D.N.Y. 2017) (finding scienter allegations insufficient where plaintiffs failed to “identify
with specificity the documents or way in which this contrary information was communicated” to
defendants).


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               Moreover, it is well-established that “Plaintiff[s] must do more than allege that . . .

Defendants had or should have had knowledge of certain facts contrary to their public statements

simply by virtue of their high level positions,” Lipow v. Net1 UEPS Techs., Inc., 131 F. Supp. 3d

144, 163 (S.D.N.Y. 2015), and that, “[w]here scienter is based on a defendant’s knowledge of

and/or access to certain facts, Second Circuit cases uniformly rely on allegations that [1] specific

contradictory information was available to the defendants [2] at the same time they made their

misleading statements.” In re Adient plc Sec. Litig., 2020 WL 1644018, at *27 (S.D.N.Y. Apr. 2,

2020) (emphasis in original); see also Kasilingam v. Tilray, Inc., 2021 WL 4429788, at *9

(S.D.N.Y. Sept. 27, 2021) (“[S]cienter cannot simply be presumed from a defendant’s

organizational role or professional expertise”).

               The Complaint does not meet that standard. For example, Plaintiffs allege that Mr.

Quellmann purportedly served on the OT Project Executive Committee and as Chief Financial

Officer, Copper and Diamonds, at Rio Tinto before becoming CEO of TRQ on August 1, 2018,

and that Mr. Lane and Mr. Colton were also former Rio Tinto employees or had been seconded to

TRQ by Rio Tinto.     (¶¶ 42, 292, 458.) But these allegations fail to show that any of these TRQ

Defendants had actual knowledge of any adverse facts, as Plaintiffs do not identify any specific

reports or information that any of them received while they were at Rio Tinto that conflicted with

any of TRQ’s disclosures, or allege that Rio Tinto disclosed any such information to them after

they began working at TRQ. See In re BioScrip, Inc. Sec. Litig., 95 F. Supp. 3d 711, 739 (S.D.N.Y.

2015) (confidential witness allegations that defendants “would often receive reports” on a business

area are not sufficient to allege scienter where the confidential witness did not allege “the content

of the reports, the date of the reports, or whether the [defendants] ever read the reports”);




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Kasilingam, 2021 WL 4429788, at *12 (scienter lacking where confidential witnesses never spoke

with or notified defendants).

                Similarly, Plaintiffs allege that Mr. Quellmann, Mr. Colton, and Mr. Lane

“regularly visited” the mine, and “assured investors that they knew about the project’s actual status

and progress.” (¶ 290.) But those allegations fall well short of identifying specific information

provided to the TRQ Defendants on such visits. 11

               In fact, Plaintiffs allege that a Parliamentary Working Group of the Government of

Mongolia also began on-site inspections of the mine in June 2018, but apparently remained

unaware of the delays, cost overruns, and other problems that Plaintiffs allege. (¶¶ 19, 197, 202,

279.) Plaintiffs fail to explain how or why the TRQ Defendants would have been in a better

position to know about the purported problems on their visits to the site than the Mongolian

government officials.    Indeed, Plaintiffs do not allege that Bowley, Duffy, or any of the

confidential witnesses they refer to in the Complaint took the occasion of such visits to provide

any negative information to Mr. Quellmann, Mr. Colton, or Mr. Lane about cost overruns, delays,

or other problems at the mine, or told them that such problems were caused by mismanagement,

rather than geotechnical conditions. Under Plaintiffs’ own theory, the more plausible inference is

that TRQ did not have more knowledge than the Mongolian government. Tellabs, 551 U.S. at 314

(inference of scienter must be “at least as compelling as any opposing inference of non-fraudulent

intent”). 12


11   See City of Brockton Ret. Sys. v. Shaw Grp. Inc., 540 F. Supp. 2d 464, 473 (S.D.N.Y. 2008)
(allegations that executives were “hands on” and “closely involved” insufficient to plead scienter
without identifying “particular, identified internal reports” executives had access to).
12  See also In re Agnico-Eagle Mines Ltd. Sec. Litig., 2013 WL 144041, at *21 (S.D.N.Y. Jan. 14,
2013) (finding inference of scienter not strong and “less compelling than plausible alternative
inferences concerning Defendants’ intent”); In re Gold Resources Corp. Sec. Litig., 776 F.3d 1103,
1116 (10th Cir. 2015) (finding that complaint failed to allege a strong inference of scienter in


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               Plaintiffs contrast the ICG Report’s findings that unexpected ground conditions

were not a principal cause of delay with certain of the TRQ Defendants’ statements during the

relevant period attributing certain delays to weak ground conditions. (¶¶ 315-17 (excavation of

chamber for primary crusher 1), ¶¶ 357-61 (excavation around Bin 11).) But nothing in the ICG

Report suggests that the TRQ Defendants knew that such statements were allegedly false or

misleading, to the extent that they actually were, or that they were not accurately reporting what

Rio Tinto had told them. “[B]eing wrong—even embarrassingly so—is not the same as being

dishonest,” and even where a complaint “strongly suggests that defendants should have been more

alert and more skeptical,” that is not sufficient “to establish that they were promoting a fraud.”

Kasilingam, 2021 WL 4429788, at *21 (citations omitted.). Even if the TRQ Defendants made

misjudgments, or even acted negligently in failing to ascertain the truth, which is not admitted but

is specifically denied, that does not suffice “to conjure the strong inference [of scienter] required

under the PSLRA.” Id. at *8.

               Plaintiffs also allege that Mr. Quellmann and Mr. Colton said they had “good

visibility” and were “plugged in . . . to the processes, cost reviews and the like,” and that TRQ had

a “seat at the table.” (¶¶ 163, 290-91, 294.) But these statements are entirely consistent with a

good-faith belief that Rio Tinto, the project manager, was providing TRQ with complete and

accurate information,13 and, given the allegations of the Complaint taken as a whole, the more




regard to an alleged overbilling scheme at a gold mine in Mexico owned by a Colorado corporation
where “the relevant personnel [were] separated by nearly 2,000 miles and international borders”).
13   See, e.g., Foley v. Transocean Ltd., 861 F. Supp. 2d 197, 219 (S.D.N.Y. 2012) (defendant was
entitled to rely in good faith on certification that a rig was in safe condition prior to a blowout).


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compelling inference is that the TRQ Defendants actually believed they had “good visibility,” not

that they were intentionally misleading investors. 14

               This case, therefore, is unlike In re Barrick Gold Securities Litigation, where the

complaint contained detailed allegations that individual defendants had access to specific reports

and statements that contradicted their public statements regarding environmental compliance. See

In re Barrick Gold Sec. Litig., 2015 WL 1514597, at *11 (S.D.N.Y. Apr. 1, 2015). Nowhere in

the Complaint do Plaintiffs allege facts showing that any of the TRQ Defendants had access to

specific adverse information regarding Oyu Tolgoi, beyond a perfunctory allusion to Mr.

Quellmann’s, Mr. Colton’s, and Mr. Lane’s “positions of control and authority” (¶ 464), which is

not sufficient. 15 Moreover, in assessing Plaintiffs’ scienter allegations, the Court must keep in

mind that the mining business is “inherently risky,” Martin v. Quartermain, 732 F. App’x 37, 42

(2d Cir. 2018); and that “it is not always possible to anticipate what miners will face as they dig

deeper.” Gold Resource Corp., 776 F.3d at 117.

               Accordingly, to the extent that Rio Tinto, as project manager, reported various

setbacks, delays, or increased costs from time to time, and that unexpected geotechnical issues

were causing delays, these reports cannot in and of themselves be considered “red flags” putting

TRQ on notice that the project was in danger of going seriously over budget and off schedule.



14 Similarly, Plaintiffs allege that TRQ mistakenly reported that lateral development of the
underground mining project progressed by 2.3 kilometres in Q3 2018. TRQ later admitted this
report “was false, overstated, and had to be revised” (¶ 339), and TRQ corrected that number down
to 2.1 kilometres in its next quarterly report, noting that the number had been “updated to reflect
revised results.” (¶ 383.) If anything, the fact that TRQ immediately revised the number based on
updated information further negates, rather than supports, scienter.
15  See In re Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367, 382 (S.D.N.Y. 2004) (finding that
plaintiff’s allegation that defendant’s position as CFO was “insufficient to support an inference of
scienter”); In re Health Mgmt., Inc., Sec. Litig., 970 F. Supp. 192, 204 (E.D.N.Y. 1997) (citing
Duncan v. Pencer, 1996 WL 19043, at *14 (S.D.N.Y. Jan. 18, 1996)).


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Here, the only specific adverse information that Plaintiff alleges the TRQ Defendants were aware

of by virtue of being OT LLC directors was that Jacobs Engineering Group, Inc., the principal

engineering,   procurement, and construction management contractor on the underground

development project, sought and obtained Board approval for an increase in its budget from $240

million to $360 million. (¶ 273.) But the Mongolian Government designees on the OT Board

were necessarily aware of this information as well. 16 Moreover, Plaintiff does not allege that a

cost increase of this nature and magnitude was so out of the ordinary, especially in a project of

such complexity and scale, as to raise a red flag that the problems were much larger, which is

presumably why the Amended Complaint does not allege (and could not in good faith allege) that

the Mongolian Government-appointed Board members did not support the Jacobs request. See

Kasilingam, 2021 WL 4429788, at *11 (rejecting “the notion that any information Defendants had

. . . a duty to monitor would have cured their ultimately misguided optimism” as “an impermissib le

retrospective critique”) (quotation marks and citation omitted).

               Abely v. Aeterna Zentaris Inc. is instructive.            In Abely, the defendant,

pharmaceutical company Aeterna Zentaris, and another company (Keryx) agreed to work together

on the development of a drug for the treatment of advanced cancer, with Keryx being responsible

for conducting the clinical trials. 2013 WL 2399869, at *19 (S.D.N.Y. May 29, 2013). The court

granted a motion to dismiss the claims against Aeterna Zentaris and found that the scienter theories

regarding Aeterna Zentaris were “close to . . . incoherent,” because “[s]everal of defendants’

allegedly misleading statements merely repeat[ed] Keryx’s findings and presentations” about the

results of the clinical trials, which Keryx was responsible for. Id.; see also id. (noting that “there


16 See Ex. 31 (Amended and Restated Shareholders’ Agreement dated June 8, 2011), at 3 (“SHC
[the entity owned by the Mongolian Government that is a part-owner of OT LLC] is entitled to
nominate three Directors [of OT LLC]”).


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is no factual allegation that the defendants received information that contradicted the seemingly

promising results” or any citations “to any disputes about the validity” of Keryx’s data “that might

have led defendants to challenge” it). Analogously here, the Complaint itself alleges that Rio Tinto

controlled both operations at the mine and the flow of information about progress of the mine—

indeed, Plaintiffs emphasize that Rio Tinto “dictated the content of all of Turquoise Hill’s public

statements concerning OT” (¶¶ 54, 450)—such that TRQ’s disclosures concerning the progress of

the underground development transparently consisted almost entirely of reports that relayed what

Rio Tinto had told TRQ. 17

               Plaintiffs’ allegations that Mr. Quellmann and Mr. Colton signed Sarbanes-Oxley

certifications that were purportedly false and misleading (¶¶ 411-413) are not sufficient to allege

scienter, either. SOX certifications “do not constitute a standalone basis for liability.” City of N.

Miami Beach Police Officers’ & Firefighters’ Ret. Plan v. Nat’l Gen. Holdings Corp., 2021 WL

212337, at *10 (S.D.N.Y. Jan. 21, 2021) (quotation marks omitted). Absent allegations of actual

knowledge, “SOX certifications do not support an inference of scienter.” Das v. Rio Tinto PLC,

332 F. Supp. 3d 786, 816 (S.D.N.Y. 2018). 18


17  See ¶ 348 (Nov. 2, 2018 Investor Call, at 3) (“We did announce on October 15 that Rio Tinto
now projects a 9-month delay of the start of sustainable production from the underground
development”); ¶ 389 (Mar. 15, 2019 Investor Call, at 4) (“As announced on February 27, we were
recently advised by Rio Tinto as our project manager that as the lateral development continues,
there is more data than was previously available. And as a consequence, the understanding of the
ore body has improved. As such, the location of some of the underground infrastructure may need
to change.”); see also Ex. 13 (Feb. 26, 2019 News Release), at 2; ¶ 313 (July 31, 2018 News
Release, at 3); ¶ 336 (Oct. 15, 2018 News Release, at 1); ¶ 348 (Nov. 2, 2018 Investor Call, at 3);
Ex. 16 (Mar. 14, 2019 News Release), at 2; Ex. 18 (Apr. 15, 2019 News Release), at 2; Ex. 20
(May 15, 2019 News Release), at 3; Ex. 25 (July 31, 2019 News Release), at 2.
18  Plaintiffs similarly fail to adequately allege scienter or falsity with regard to Turquoise Hill’s
Risk Factor Disclosures (¶¶ 414-19). Plaintiffs do not allege facts showing that the Turquoise Hill
Defendants knew that risks they disclosed had already materialized at the time the risk disclosures
were issued. See In re Coty Inc. Sec. Litig., 2016 WL 1271065, at *11 (S.D.N.Y. Mar. 29, 2016)
(ruling that risk disclosures are misleading only “where the company warns only that a risk may


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               Tellingly, Plaintiffs try to make up for the Complaint’s lack of allegations of

knowledge on the part of the TRQ Defendants by repeatedly referring to “Defendants” generally—

thus lumping the TRQ Defendants together with the Rio Tinto Defendants. (E.g., ¶ 271 (alleging

that “Defendants were repeatedly informed” of problems and referring to “Defendants’ receipt of”

information from experts). 19 This semantic blurring does not satisfy the requirement of pleading

scienter as to each individual defendant. See Hou Liu, 2020 WL 1489831, at *14. And, because

Plaintiffs fail to plead scienter with respect to any individual TRQ defendant, they also fail to

allege that TRQ acted with corporate scienter. See Kasilingam, 2021 WL 4429788, at *13.

       B.      Plaintiffs Do Not Adequately Allege Motive and Opportunity

               Plaintiffs’ motive allegations as to the TRQ Defendants also fail. Plaintiffs have

not alleged that either Mr. Colton, Mr. Lane, Mr. Quellmann, or TRQ itself benefited or stood to

benefit in any concrete and personal way from the alleged fraud.

               For example, Plaintiffs have not alleged that any of the TRQ Individual Defendants

sold any of their stock during the relevant period. “The absence of stock sales by insiders, or any

other evidence of pecuniary gain by company insiders at shareholders’ expense, is inconsistent

with an intent to defraud shareholders.” In re N. Telecom Ltd. Sec. Litig., 116 F. Supp. 2d 446,

462 (S.D.N.Y. 2000); see also Kasilingam, 2021 WL 4429788, at *7 (“Crucially, Plaintiffs do not

allege that [defendants] sold any of their own stock during the relevant period.”) To the contrary,




impact its business when that risk has already materialized.”); In re Bank of America AIG
Disclosure Sec. Litig., 980 F. Supp. 2d 564, 579 (S.D.N.Y. 2013) (“[W]here there is a disclosure
that is broad enough to cover a specific risk, the disclosure is not misleading simply because it
fails to discuss the specific risk.”).
19 See also ¶ 273 (alleging “Defendants engaged in a machination” to conceal the extent of delays
and cost overruns); ¶¶ 275-78 (similar).


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Mr. Quellmann purchased TRQ stock during the relevant period,20 which is inconsistent with any

allegation of scienter.   See Turner v. MagicJack VocalTec, Ltd., 2014 WL 406917, at *11

(S.D.N.Y. Feb. 3, 2014) (“The Complaint does not address why MacInnes and Vento would have

purchased Borislow’s shares if, as the Plaintiffs allege, the individual Defendants were conspiring

to artificially inflate the Company’s stock price.”). 21 In addition, Plaintiffs themselves allege that

Rio Tinto forced Mr. Quellmann to resign as TRQ’s CEO because he “took actions in support of

TRQ’s minority shareholders that were contrary to Rio’s interests” (¶¶ 39, 42), which further

undercuts Plaintiffs’ theory that Mr. Quellmann was working with Rio Tinto to conceal

information.

               In addition, when defendants order an investigation as soon as they learn of

potential delays, that also “weakens rather than strengthens an inference of scienter.” Slayton v.

Am. Express Co., 604 F.3d 758, 777 (2d Cir. 2010) (quotation marks and citations omitted). 22 As

the Complaint itself alleges, TRQ did exactly that. After disclosing in October 2018 that Rio Tinto




20  Ex. 28 (Quellmann Form 55-102F2 (July 1, 2018–Aug. 31, 2019)); see Abely, 2013 WL
2399869, at *22 (taking judicial notice of Canadian equivalent of SEC Form 4 on motion to
dismiss).
21  See also In re MRU Holdings Sec. Litig., 769 F. Supp. 2d 500, 516 (S.D.N.Y. 2011) (purchase
and retention of the shares is “inconsistent with the allegation that [defendants] harbored
information that the Company’s financial health was in grave jeopardy”) (quotation omitted);
Telecom, 116 F. Supp. 2d at 462 (where individual defendants had “held or increased their
holdings” in the company, court found “absence of stock sales by insiders” to be “inconsistent
with an intent to defraud shareholders”).
22  See also In re Gen. Elec. Sec. Litig., 844 Fed. App’x 385, 389 (2d Cir. 2021) (scienter
allegation was not more plausible than non-culpable inference where defendant “revised its
assessment of the issue” when confronted with problems and “disclosed the financial
consequences with reasonable promptness”); Aratana, 315 F. Supp. 3d at 766 (finding that
plaintiffs failed to raise a strong inference of scienter where, upon “encountering setbacks,”
defendants “timely updated the market”); Agnico-Eagle Mines, 2013 WL 144041, at *21 (finding
no strong inference of scienter where defendants undertook an investigation into potential issues
related to rock mass stability issues in underground mining operations).


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had advised it that the timetable for sustainable first production had been delayed, TRQ

commenced its own review of the scheduling issues with the assistance of a “Qualified Person.”23

TRQ then consistently updated investors about the results of its review and the occurrence of

additional delays as reported by Rio Tinto. 24 Four months later, in February 2019, TRQ (along

with Rio Tinto) disclosed that “there was an increasingly likely risk of a further delay to sustainable

production beyond Q3’21,” 25 and, in March 2019, gave a detailed description of the “key risks”

that were “developing.” 26   Subsequently, TRQ updated the market about a definitive estimate

review that Rio Tinto had commenced in addition to TRQ’s own independent review to better

understand the impact of the delays and any additional updates to Shaft 2 commissioning. 27

                Similarly, as Plaintiffs concede, two TRQ representatives are on the four-member

OT Special Committee that approved an investigation into the causes of the cost overruns and

delays to the Oyu Tolgoi underground development, the results of which investigation Plaintiffs

rely on (¶ 266). This further undercuts any inference of scienter. See, e.g., In re Welspun, 2019

WL 2174089, at *15 (S.D.N.Y. May 20, 2019) (finding defendants’ own investigation into alleged

fraud suggest a prudent course of action inconsistent with scienter); In re Agnico-Eagle Mines,

2013 WL 144041, at *21 (S.D.N.Y. Jan. 14, 2013) (finding no strong inference of scienter where




23   See Ex. 8 (Oct. 15, 2018 News Release), at 2.
24  See Ex. 9 (Nov. 1, 2018 News Release), at 4; Ex. 13 (Feb. 26, 2019 News Release), at 2; Ex.
17 (Mar. 15, 2019 Investor Call), at 7; Ex. 18 (Apr. 15, 2019 News Release), at 1; Ex. 20 (May
15, 2019 News Release), at 3-4, 11; Ex. 22 (July 15, 2019 News Release), at 2; Ex. 25 (July 31,
2019 News Release), at 4.
25See ¶¶ 230-31; Ex. 13 (Feb. 26, 2019 News Release), at 1; see also Ex. 14 (Rio Tinto 2018
Annual Report), at 45.
26   See ¶ 230; Ex. 15 (2018 MD&A attached to TRQ 2018 Form 40-F), at 7.
27  See Ex. 18 (Apr. 15, 2019 News Release), at 2; Ex. 20 (May 15, 2019 News Release), at 11;
Ex. 22 (July 15, 2019 News Release), at 2; Ex. 25 (July 31, 2019 News Release), at 1-2, 4, 9.


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defendants undertook an investigation into potential issues related to rock mass stability issues in

underground mining operations). 28

               Plaintiffs allege that “Defendants” were “highly motivated” to conceal the

problems at Oyu Tolgoi because the Mongolian government initiated inquiries into Rio Tinto’s

operations and made efforts to recoup allegedly unpaid taxes (¶¶ 187-204). These allegations fail

to raise a strong inference of scienter for several reasons.

               First, once again, Plaintiffs’ allegations focus on Rio Tinto, not TRQ. Plaintiffs

allege that the Rio Tinto Defendants were motivated to hide operational problems and delays at

Oyu Tolgoi from the Government of Mongolia because Rio Tinto was already facing regulatory

inquiries (¶¶ 188-202) and purportedly took various steps to this end (¶¶ 94, 199, 207, 281, 285-

86, 298). The Complaint makes no allegations of this kind about the TRQ Defendants, and does

not allege that TRQ knew that Rio Tinto was purportedly engaging in such conduct. Accordingly,

the Complaint raises no inference, much less a strong inference, that any of the TRQ Defendants

were among the circle of people who were purportedly privy to the “real” facts.

               Second—and even if the alleged “motive” applied to TRQ employees—

maintaining good relations with a governmental partner is the type of motive generally possessed

by most corporate directors and officers; it is not the type of concrete and personal benefit required

to raise a strong inference of scienter. See Novak, 216 F.3d at 307-08. 29


28  See also Horizon Asset Mgmt. Inc. v. H & R Block, Inc., 580 F.3d 755, 763 (8th Cir. 2009)
(defendants’ internal investigation into accounting errors was a “prudent course of action” that
weakens rather than strengthens scienter); Higginbotham v. Baxter Int'l Inc., 495 F.3d 753, 760-
61 (7th Cir.2007) (“Prudent managers conduct inquiries rather than jump the gun with half-formed
stories as soon as a problem comes to their attention. . . .”).
29  See also In re Sanofi-Aventis Sec. Litig., 2009 WL 3094957, at *7 (S.D.N.Y. Sept. 25, 2009)
(the desire to avoid governmental and regulatory scrutiny is too generalized a motive); In re Banco
Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 665 (S.D.N.Y. 2017) (finding insufficient motive
“to avoid potential criminal liability [and] prosecution”).


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II.    TRQ’S STATEMENTS CONCERNING THE PROJECTED COST AND
       TIMELINE FOR THE UNDERGROUND DEVELOPMENT ARE FORWARD-
       LOOKING STATEMENTS PROTECTED BY THE PSLRA SAFE HARBOR

               Under the PSLRA’s safe-harbor provision, 15 U.S.C. § 78u-5(c), “‘a defendant is

not liable if . . . the forward-looking statement is identified and accompanied by meaningful

cautionary language . . . or . . . the plaintiff fails to prove that the forward-looking statement was

made with actual knowledge that it was false or misleading.’” In re Barrick Gold Corp. Sec. Litig.,

341 F. Supp. 3d 358, 374-75 (S.D.N.Y. 2018) (quoting In re Vivendi, S.A. Sec. Litig., 838 F.3d

223, 245-46 (2d Cir. 2016)). 30

               The bulk of the statements that Plaintiffs challenge as being false and misleading

concern the expected timeline for the first draw bell and sustainable first production, and the

expected amount of capital expenditures required to complete development of the underground

mining project. (E.g., ¶ 306 (“The Company continues to expect the first draw bell in mid-2020

and sustainable first production in 2021.”); ¶ 307 (“The major growth projects remain on track,

with construction of the first draw bell at Oyu Tolgoi Underground anticipated in mid-2020.”)). 31

               These statements are not actionable because they are protected by the PSLRA safe

harbor for forward-looking statements accompanied by meaningful cautionary language, and

Plaintiffs do not adequately allege that they were false. 32



30 See also Gregory v. ProNAi Therapeutics Inc., 297 F. Supp. 3d 372, 397 (S.D.N.Y.), aff’d,
757 F. App’x 35 (2d Cir. 2018).
31  See also ¶ 315 (“We will remain on target for the first drill point blast in mid-2020 and
sustainable production in early 2021”); ¶ 334 (“[T]he project remains on schedule to complete in
2022”); ¶ 335 (“Rio Tinto has undertaken a second annual re-forecast . . . and preliminary results
have concluded that capital costs remain in line with the overall $5.3 billion budget and the project
remains on schedule to complete in 2022.”).
32 The statements similarly fail under the judicially created counterpart to the PSLRA—the
“bespeaks-caution” doctrine. Under this doctrine, “[a] forward-looking statement accompanied
by sufficient cautionary language is not actionable because no reasonable investor could have


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       A.       The Statements Are Identified as Forward-Looking and Accompanied by
                Meaningful Cautionary Language

                Statements “need not be specifically labeled as forward-looking or segregated into

a separate section to qualify for safe-harbor protection.” Barrick, 341 F. Supp. 3d at 375. Rather,

the “use of linguistic cues like ‘we expect’ or ‘we believe,’ when companied with an explanatory

description of the company’s intention to thereby designate a statement as forward-looking” is

“generally . . . sufficient to put the reader on notice that the company is making a forward-looking

statement.” Id. (quoting Slayton, 604 F.3d at 769).

                In particular, courts have held that statements regarding mining development

schedules and “construction estimate[s]” are forward-looking statements protected by the PSLRA.

See, e.g., Barrick Gold, 2015 WL 1514597, at *8 (finding that because company’s “construction

estimate was clearly identified as just that—an estimate—and the schedule was set out as

‘expected,’” the statements “plainly qualify as forward-looking statements”). 33

                The same can be said for statements about the project remaining “on track” and “on

schedule.” 34   Here, such statements concerned the estimated time for the first draw bell,




found the statement materially misleading.”      Iowa Pub. Emps.’ Ret. Sys. v. MF Glob., Ltd.,
620 F.3d 137, 141 (2d Cir. 2010).
33  See also City of Austin Police Dep’t Ret. Sys. v. Kinross Gold Corp., 957 F. Supp. 2d 277, 302
(S.D.N.Y. 2013) (finding statements regarding development schedule of goldmining operation in
West Africa were forward-looking statements); Moshell v. Sasol Ltd., 481 F. Supp. 3d 280, 288
(S.D.N.Y. 2020) (energy company’s “statement[s] containing a projection of . . . capital
expenditures” and “statement[s] of the plans and objectives of management for future operations”
were forward-looking); In re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65, 84 (S.D.N.Y. 2017)
(statements regarding projected performance of company’s joint venture with Brazilian mining
company were forward-looking); Aratana, 315 F. Supp. 3d at 758-59 (finding that statements
regarding company’s “expectations” regarding the timeline for commercial release of
pharmaceuticals were forward-looking statements).
34  As discussed below in Sections D and E, these statement are also not actionable because they
are statements of opinion and vague statements of optimism.


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sustainable first production, and completion of the project (e.g., ¶¶ 334-36), which, as discussed

above, constitute forward-looking statements. 35 All of the TRQ statements that Plaintiffs are

challenging regarding the projected capital costs, and the timeline for the underground

development, and the start of production are clearly identified as forward-looking by the use of

words like “expects,” 36 and TRQ’s disclosures expressly state that all such statements are forward-

looking statements. 37


35  See, e.g., Wochos v. Tesla, Inc., 985 F.3d 1180, 1192 (9th Cir. 2021) (holding that company’s
statement that it was “on track” to achieve goal of producing 5,000 vehicles per week was forward-
looking statement, and noting that “[t]he statutory safe harbor would cease to exist if it could be
defeated simply by showing that a statement has the sort of features that are inherent in any
forward-looking statement”); see also Adient, 2020 WL 1644018, at *8 (finding statements
regarding metals business being “on track” to be forward-looking statements); In re Austl. & N.Z.
Banking Grp. Ltd. Sec. Litig., 2009 WL 4823923, at *13 (S.D.N.Y. Dec. 14, 2009) (finding that a
“press release stating that the Institutional Division ‘is on track to deliver a turnaround at an
underlying level, with excellent revenue growth’” is “forward-looking”); Institutional Inv’rs Grp.
v. Avaya, Inc., 564 F.3d 242, 255-56 (3d Cir. 2009) (finding company’s statement that it was “on
track” to meet a future projection was forward-looking.).
36  See, e.g., (¶ 313) (“The Company continues to expect the first draw bell in mid-2020 and
sustainable first production in 2021”); ¶ 336 (“[S]ustainable first production, which is now
expected to occur by the end of Q3’21 . . . .”) (October 15, 2018 News Release, at 1); ¶ 345
(“[C]onstruction completion schedule remains on track for 2022 and the project is expected to be
completed at the $5.3 billion budget estimate. . .”) (Nov. 1, 2018 News Release, at 4); ¶ 230
(“[P]roject cost was expected to remain within the $5.3 billion budget.”) (Feb. 26, 2019 News
Release, at 1); Ex. 20 (May 15, 2019 News Release), at 3 (“Rio Tinto, in its role as manager of
Oyu Tolgoi, has advised that the fit-out and commissioning work on Shaft 2 is now expected to be
completed by the end of October 2019”); Ex. 22 (July 15, 2019 News Release), at 2 (“This results
in sustainable first production now being expected between May 2022 and June 2023.”).
37  See, e.g., Ex. 4 (TRQ 2017 Form 40-F), at 2 (“Certain statements made herein, including
statements relating to matters that are not historical facts and statements of the Company’s beliefs,
intentions and expectations about developments, results and events which will or may occur in the
future, constitute ‘forward-looking information’ within the meaning of applicable Canadian
securities legislation and ‘forward-looking statements’ within the meaning of the ‘safe harbor’
provisions of the United States Private Securities Litigation Reform Act of 1995”); Ex. 6 (July 31,
2018 News Release), at 17 (same); Ex. 8 (Oct. 15, 2018 News Release), at 3–4 (same); Ex. 9
(Nov. 1, 2018 News Release), at 18–19 (same); Ex. 13 (Feb. 26, 2019 News Release), at 2 (same);
Ex. 18 (Apr. 15, 2019 News Release), at 3 (same); Ex. 22 (July 15, 2019 News Release), at 4
(same); Ex. 25 (July 31, 2019 News Release), at 20 (same); see also Ex. 10 (Nov. 2, 2018 Investor
Presentation), at 2 (“This presentation includes certain ‘forward-looking information’ within the
meaning of applicable Canadian securities legislation and ‘forward-looking statements’ within the


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               TRQ’s statements regarding the underground development timelines and expected

capital costs were also accompanied by meaningful cautionary language.

               “To determine whether cautionary language is meaningful, courts must first

identify the allegedly undisclosed risk and then read the allegedly fraudulent materials—including

the cautionary language—to determine if a reasonable investor could have been misled into

thinking that the risk that materialized and resulted in his loss did not actually exist.” Barrick,

341 F. Supp. 3d at 377 (quotation marks omitted).

               As an initial matter, TRQ’s disclosures and cautionary language must be considered

in the context of an investment in a mining operation, which is an “inherently risky” business.

See Martin, 732 F. App’x at 42 (noting that statements at issue must be considered “in the context

of an investment in a gold mine,” which is “inherently risky”). 38

               Moreover, as discussed above, TRQ’s 40-Fs and news releases contained abundant

disclosures that unexpected problems and delays could occur that would materially impact the

schedule and projected costs of the project, and specifically cautioned about factors that were

“inherently uncertain,” including “delays, and the costs which would result from delays, in the

development of the underground mine,” “which could significantly exceed the costs projected in




meaning of the ‘safe harbor’ provisions of the United States Private Securities Litigation Reform
Act of 1995”); Ex. 12 (Jan. 17, 2019 Investor Presentation), at 2 (same); Ex. 7 (Aug. 1, 2018
Investor Call), at 13 (“In the conference calls upon which Event Briefs are based, companies may
make projections or other forward-looking statements regarding a variety of items. Such forward-
looking statements are based upon current expectations and involve risks and uncertainties.”); Ex.
11 (Nov. 2, 2018 Investor Call), at 13 (same); Ex. 17 (Mar. 15, 2019 Investor Call), at 13 (same);
Ex. 21 (May 16, 2019 Investor Call), at 9 (same); Ex. 23 (July 16, 2019 Investor Call), at 15 (same).
38  See also In re Gold Resource Corp. Sec. Litig., 776 F.3d 1103, 117 (10th Cir. 2015) (noting
that the “mining business” is “one in which it is not always possible to anticipate what miners will
face as they dig deeper.”).


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the Statutory Feasibility Study and the 2016 OTTR.” (Ex. 4 (TRQ 2017 Form 40-F), at 3; Ex. 15

(TRQ 2018 Form 40-F), at 2.) 39

                Similarly, TRQ’s October 15, 2018 and November 1, 2018 news releases and other

disclosures warned investors that the “cost, timing and complexities of mine construction and

development are increased by the remote location” of the Oyu Tolgoi mine and that it “is common

in mining operations and in the development or expansion of existing facilities to experience

unexpected problems and delays during development, construction and mine start-up.” (Ex. 8

(Oct. 15, 2018 News Release), at 4; Ex. 9 (Nov. 1, 2018 News Release), at 19.) In In re NovaGold

Resources Inc. Securities Litigation, 629 F. Supp. 2d 272 (S.D.N.Y. 2009), Judge Cote found

substantially identical language meaningfully cautionary to “address[] the ‘relevant risk directly,’

a risk of rising capital costs.” Id. at 294-95.

                Each of TRQ’s news releases also contained language specifically advising

investors that forward-looking statements include “information regarding . . . the development

options under consideration for the design” of the mine “and the related cost and schedule

implications,” as well as “capital and operating cost estimates,” and that there was no assurance

such statements would prove accurate. (Ex. 22 (July 15, 2019 News Release), at 4); see also

Halperin v. eBanker USA.Com, Inc., 295 F.3d 352, 359 (2d Cir. 2002). 40




39  See, e.g., Ex. 8 (Oct. 15, 2018 News Release), at 4; Ex. 9 (Nov. 1, 2018 News Release), at 19;
Ex. 13 (Feb. 26, 2019 News Release), at 3; Ex. 22 (July 15, 2019 News Release), at 4; Ex. 16
(Mar. 14, 2019 News Release), at 20; Ex. 18 (Apr. 15, 2019 News Release), at 3; Ex. 25 (July 31,
2019 News Release), at 20; see also Ex. 19 (2019 MD&A attached to TRQ Form 6-K, dated
May 15, 2019), at 23; Ex. 4 (2017 AIF attached to TRQ 2017 Form 40-F), at 4.
40  See also NovaGold, 629 F. Supp. 2d at 294 (“Given the warnings regarding capital costs,” it
would be “unreasonable” for an investor “to demand that a cost estimate must hold steady over a
multi-year period requiring considerable amounts of construction of a large mine in a remote
location[.]” ).


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                TRQ’s news releases also contained cautionary language warning that “there can

be no assurance” that its forward-looking statements “will prove to be accurate,” and that they

were “based on certain assumptions and analyses made by the Company’s management in light of

their experience and perception of historical trends, current conditions and expected future

developments,    as well as other factors management believes are appropriate in the

circumstances” 41—which is nearly identical to cautionary language the Second Circuit found

meaningful in Martin, 732 F. App’x at 42.

                In addition, TRQ repeatedly cautioned investors during the relevant time period

that Rio Tinto and TRQ were continuing to review the reasons for the disclosed delays and their

impact on the projected capital costs and timeline for the underground development, and that the

results of those reviews had not yet been completed.        See, e.g., Ex. 13 (Feb. 26, 2019 News

Release), at 2 (“The Company is working with Rio Tinto to understand the issues and in parallel

with the definitive estimate review, Turquoise Hill will assess the impact of any further delay to

sustainable first production beyond the end of Q3’21 on the Company’s cash flows, liquidity and

funding requirements, as well as investigate potential mitigation options.”). 42




41  E.g., Ex. 8 (Oct. 15, 2018 News Release), at 4; Ex. 9 (Nov. 1, 2018 News Release), at 19;
Ex. 13 (Feb. 26, 2019 News Release), at 2-3; Ex. 16 (Mar. 14, 2019 News Release), at 20; Ex. 20
(May 15, 2019 News Release), at 18; Ex. 25 (July 31, 2019 News Release), at 20.
42  See also Ex. 18 (Apr. 15, 2019 News Release), at 2 (“[M]ore detailed geotechnical information
and different ground conditions have required a review of the mine design and the development
schedule. The impact of these changes, including the further delay to Shaft 2, will be included in
the definitive estimate review, which is expected to be completed towards the end of the year.”);
¶ 395 (quoting same); Ex. 21 (May 16, 2019 Investor Call), at 3 (“[W]ork continues on the
definitive estimate work. This may include some potentially significant changes to the design of
some future elements of the mine design and the development schedule . . . We expect to provide
an update along with our half-year results followed by the definitive estimate review, which is
expected to be completed by year-end.”)); ¶ 400 (quoting same); ¶ 345 (quoting Nov. 1, 2018
News Release).


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               As in Aratana Therapeutics Inc. Sec. Litig., given these disclosures concerning the

potential risk, “the mere fact that the risk materialized cannot support a claim under the Exchange

Act.” 315 F. Supp. 3d at 760. 43

       B.      Plaintiffs Do Not Adequately Allege That the TRQ Defendants Made Any
               Forward-Looking Statements with Actual Knowledge That They Were False

               In addition, the Complaint does not adequately allege that the TRQ Defendants’

forward-looking statements were made with actual knowledge of falsity. This standard is more

demanding than the scienter requirement for Rule 10b-5 claims, which can be satisfied by

recklessness. See Slayton, 604 F.3d at 773; Barrick, 2015 WL 1514597, at *9 (where statements

were “protected under the PSLRA safe harbor, plaintiffs must allege actual knowledge—

recklessness will not suffice”). The Complaint falls well short of meeting the “actual knowledge”

standard. As discussed above in regard to scienter, the Complaint does not allege a single fact

showing that anyone at TRQ had actual knowledge that any of the Company’s statements

regarding the expected costs and timeline for the underground mine were false.

               To the extent that Plaintiffs allege actual knowledge on the part of the TRQ

Defendants, the allegations are entirely conclusory and, as discussed earlier, improperly lump the

TRQ and Rio Tinto Defendants together without specifying any information purportedly known

by the TRQ Defendants. (See, e.g., ¶¶ 271-72 (alleging “Defendants were repeatedly informed”

of problems and “Defendants’ receipt of” information from experts is “powerful evidence of

scienter” but listing only knowledge attributable to Rio Tinto Defendants). 44




43   See also Acito v. IMCERA Grp., 47 F.3d 47, 53 (2d Cir. 1995) (“[D]efendants’ lack of
clairvoyance simply does not constitute securities fraud.”).
44 See also ¶ 273 (alleging “Defendants engaged in a machination” to conceal the extent of delays
and cost overruns, but describing only knowledge attributable to Rio Tinto Defendants).


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               Also, Plaintiffs do not allege that TRQ misreported anything that Rio Tinto told it

or that Rio Tinto provided TRQ with any information that conflicted with the information that

TRQ disclosed. To the contrary, Plaintiffs themselves have stated that Rio Tinto “dictated” any

“communication    disseminated    outside   Turquoise   Hill concerning Oyu Tolgoi or any

communication that could impact Turquoise Hill’s stock price” (¶¶ 54, 450), has “near complete

operational control over [Oyu Tolgoi],” was not “provid[ing] to [TRQ] a definitive estimate of

cost overruns and required mine design changes,” and has otherwise excluded TRQ from key

decisions. (See Ex. 26 (Apr. 2, 2020 Pentwater Letter to Shareholders), at vii–viii, ix, x.) And

even as recently as January 29, 2021, Plaintiffs issued a news release denouncing Rio Tinto for

systematically restricting TRQ’s ability to have communication with the Government of Mongolia

and “overriding” TRQ’s “right[s] and fiduciary obligations” related to Oyu Tolgoi.         (Ex. 27

(Pentwater News Release dated Jan. 29, 2021), at 1 n.1.)

               Finally, Plaintiffs allege that former Rio Tinto consultant Richard Bowley and other

former Rio Tinto employees warned of problems, but these allegations do not show that TRQ or

any of its employees had actual knowledge of any such issues. There is no allegation that

Mr. Bowley or anyone else conveyed that information to Mr. Quellmann, Mr. Colton, Mr. Lane,

or anyone else at TRQ, nor did the ICG Report make any such finding.

III.    TRQ’S STATEMENTS REGARDING THE EXPECTED TIMELINE AND COSTS
        AND OTHER ISSUES WERE STATEMENTS OF OPINION THAT THE
        COMPLAINT DOES NOT ADEQUATELY ALLEGE WERE FALSE

               Plaintiffs’ claims concerning TRQ’s statements about the expected costs and

timeline for the underground development, that the delays being experienced were “not atypical,”

(¶ 348) and that the key risks were “well understood and managed,” (¶ 362) also fail because these

are “quintessential opinion statements,” Martin, 732 F. App’x at 40 n.1 (“Estimates, in particular,

constitute a well-established species of opinion” because they “will vary depending on the


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particular methodology and assumptions used”) (citations omitted),45 and Plaintiffs have not

adequately alleged that they were false.

               To adequately allege that a statement of opinion is false, a plaintiff must show that

the defendant: (1) “did not hold the belief [defendant] professed”; (2) the “supporting fact[s]

[defendant] supplied were untrue”; or (3) “omit[ted] information whose omission ma[d]e[] the

statement[s] misleading to a reasonable investor.” Tongue v. Sanofi, 816 F.3d 199, 210 (2d Cir.

2016)). 46 None of that is alleged here.

               As an initial matter, nowhere do Plaintiffs allege “subjective falsity”—i.e., that

TRQ did not believe the estimates or projections it received from Rio Tinto. Nor do Plaintiffs

allege that Rio Tinto—the on-site manager and entity closest to the progress and development of

the Oyu Tolgoi mine—ever disputed or contradicted TRQ’s statements regarding the progress of

the development of the mine. Nor do Plaintiffs allege any facts showing that any of TRQ’s

statements were “objectively false” at the time they were made. Rather, as in Martin, Plaintiffs at

best allege “merely that [TRQ] should have drawn different conclusions” from the facts. 732 F.

App’x at 41. But, “[a]llegations of that sort do not give rise to a claim of objective falsity.” Id.

(citing Tongue, 816 F.3d at 214). Finally, Plaintiffs do not allege that TRQ failed to disclose any

information that rendered its statements misleading to a reasonable investor.




45   See also In re Pretium Resources Inc. Sec. Litig., 2020 WL 953609, at *4 (S.D.N.Y. Feb. 27,
2020) (ruling that statements that “give commentary or updates on, or tacitly express confidence
in, aspects of [the defendant’s] mine plan, which provided estimates and projections for developing
and administering the mine” were statements of opinion).
46  See also Chapman v. Mueller Water Prods., Inc., 466 F. Supp. 3d 382, 398 (S.D.N.Y. 2020)
(Liman, J.).


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IV.     CERTAIN OF THE TRQ STATEMENTS THAT PLAINTIFFS CHALLENGE ARE
        VAGUE STATEMENTS OF OPTIMISM THAT ARE NOT ACTIONABLE

                Plaintiffs’ claims regarding certain of TRQ’s statements that Plaintiffs are

challenging also fail because the statements are vague statements of corporate optimism, or

puffery, that are not actionable.     See Rombach v. Chang, 355 F.3d 164, 174 (2d Cir. 2004)

(“[E]xpressions of puffery and corporate optimism do not give rise to securities violations.”). 47

                Thus, for example, Plaintiffs focus on statements such as “capital costs remain in

line” and “the project remains on schedule to complete in 2022” (¶¶ 334-35); “lateral development

has progressed well, construction completion schedule remains on track for 2022” (¶ 336); “Key

risks . . . well understood and managed” (¶¶ 362, 363, 366, 368).

                In case after case, courts have held nearly identical statements to be inactionable

statements of optimism, or puffery. See, e.g., Elec. Workers Pension Fund, Local 103 v. Six Flags

Enter. Corp., 2021 WL 807251, at *23 (N.D. Tex. Mar. 3, 2021) (finding that statement that the

“parks are progressing nicely” falls “squarely in the category of corporate optimism or puffery

that is insufficient to state a PSLRA claim”) (emphasis added); Landow v. Bartlett, 2019 WL

1027994, *4 (D. Nev. Mar. 4, 2019) (“Statements that an investment is . . . ‘well managed’ are

not actionable . . . .”) (emphasis added). 48


47  See also In re Synchrony Fin. Sec. Litig., 2021 WL 560204, at *8 (2d Cir. Feb. 16, 2021)
(“Vague positive statements regarding a corporate entity’s risk management strategy, asset quality,
and business practices are too general to cause a reasonable investor to rely upon them and
therefore are precisely the type of puffery that this and other circuits have consistently held to be
inactionable.”) (quotation marks omitted).
48   See also In re EDAP TMS S.A. Sec. Litig., 2015 WL 5326166, at *9-10 (S.D.N.Y. Sept. 14,
2015) (finding statements “indicat[ing] that the [FDA approval] process was ‘on track’ and
making continued ‘progress’ to be inactionable puffery) (emphasis added); Elliott Assocs., L.P. v.
Covance, Inc., 2000 WL 1752848, at *10 (S.D.N.Y. Nov. 28, 2000) (“If something is ‘on track’
it is reasonable to assume that it could go ‘off track.’ Thus, the challenged statements are vague
expressions of opinion which are not sufficiently concrete or specific to impose a duty to update.”)
(emphasis added).


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               Moreover, only one statement in the Complaint attributed to the TRQ Defendants

says anything about things “progressing well.” That was an October 15, 2018 news release in

which TRQ stated: “Rio Tinto, in its role as manager of Oyu Tolgoi and underground construction

contractor, has undertaken its second annual schedule and cost re-forecast for the project.

According to this re-forecast, lateral development has progressed well . . . .” (¶ 336.) Plaintiffs

allege no facts to show that TRQ misreported Rio Tinto’s re-forecast or that the re-forecast did not

show that lateral development had “progressed well” up to that point. 49 Nor does the Complaint

allege that TRQ had disbelieved what Rio was reporting. Moreover, in the same release, TRQ

stated that it had been notified by Rio Tinto that there had been delays in the completion of Shaft

2 and delays resulting from “challenging ground conditions” (¶ 334); so, if those are the facts

Plaintiffs are relying on to show falsity, TRQ disclosed them.

V.     THE TRQ DEFENDANTS ARE NOT LIABLE FOR STATEMENTS MADE BY
       THE RIO TINTO DEFENDANTS

               Plaintiffs allege that the TRQ Defendants are liable under SEC Rule 10b-5(a) and

SEC Rule 10b-5(c) for disseminating the purportedly false statements made by Rio and RTIH.

(¶ 451.) This argument fails, too. The Supreme Court ruled in Lorenzo v. SEC, 139 S. Ct. 1094

(2019), that a person who disseminates false or misleading information with an intent to defraud

can violate sections (a) and (c) of Rule 10b-5, even if the person was not the “maker” of the untrue

statements. But, in Lorenzo, the defendant admittedly knew that the statements he disseminated

in emails were false, and he did not contest that he sent emails with an intent to defraud the

recipients. Id. at 1101. Here, in contrast, as discussed above, Plaintiffs have not alleged facts




49  In re Fed Ex Corp. Sec. Litig, 2021 WL 396423, at *14 (S.D.N.Y. Feb. 4, 2021) (finding
statement that “we are progressing well on the integration, and customers are beginning to see the
value” to be inactionable puffery).


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showing that any of the TRQ Defendants knew that the Rio Tinto statements that they disseminated

were false and misleading, or that they disseminated them with fraudulent intent.

VI.     PLAINTIFFS’ “CONTROL PERSON” CLAIM AGAINST THE                                             TRQ
        INDIVIDUAL DEFENDANTS FAILS TO STATE A CLAIM FOR RELIEF

                    Finally, Plaintiffs’ Section 20(a) “control person” claim against the TRQ

Individual Defendants also fails to state a claim for relief. First, it fails because Plaintiffs have not

adequately alleged an underlying claim against Turquoise Hill. See Slayton, 604 F.3d at 778;

Pretium, 256 F. Supp. 3d at 482. Second, Plaintiffs’ assertions that the TRQ Individual Defendants

influenced and controlled the “content and dissemination” of their public statements (¶ 464)

directly contradict Plaintiffs’ assertions that Rio Tinto overtly “dictated” Turquoise Hill’s

communications and access to information about OT (¶¶ 54, 450).

                                           CONCLUSION

                The Complaint is Plaintiffs’ second amended complaint, and was filed after

Plaintiffs saw and responded to the TRQ Defendants’ motion to dismiss their prior complaint and

after Plaintiffs had the benefit of reviewing the ICG Report. There is no reason to believe that

Plaintiffs can cure its deficiencies in yet another amended pleading. All of the claims asserted

against the Turquoise Hill Defendants should therefore be dismissed with prejudice and without

leave to replead.




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Dated: New York, New York
       October 19, 2021

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